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         In the United States Court of Federal Claims
                                            No. 06-28T

                                      (Filed: June 13, 2008)

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RADIOSHACK CORPORATION,                                 *
                                                        *
                                                        *
                                                        *
                        Plaintiff,                      *
                                                        *
                v.                                      *
                                                        *
THE UNITED STATES,                                      *
                                                        *
                        Defendant.                      *
                                                        *
* * * * * * * * * * * * * * * * * * * * * * ** * * * * *
______________________________________________________________________________

                        ORDER AND FINAL JUDGMENT
______________________________________________________________________________


        Upon consideration of Plaintiff’s Motion For Entry Of Final Judgment pursuant to Rule 54(b)
of the Rules of the Court of Federal Claims and the record in this case, it is hereby ORDERED as
follows:

        Whereas this Court by its Opinion and Order Granting Defendant’s Motion for Partial
Dismissal entered on May 21, 2008 (the “Judgment”) has dismissed for lack of jurisdiction
Plaintiff’s claim for a refund of communications excise tax relating to the first calendar quarter of
1996 (the “1996 Claim”) as untimely under 28 U.S.C. §§ 6511(a) and 7422; and

       Whereas certifying the Judgment as final serves the interest of sound judicial administration
and equity, and finding that there is no just reason for delay;

       It is hereby ORDERED and DECREED that Plaintiff’s Motion is GRANTED, the
Judgment is certified as FINAL, and final judgment with prejudice is hereby entered pursuant to
Rule 54(b) in favor of Defendant with respect to the dismissal of Plaintiff’s 1996 Claim.
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It is so ORDERED.


                                  s/ Mary Ellen Coster Williams
                                  MARY ELLEN COSTER WILLIAMS
                                  Judge
